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 3                               UNITED STATES DISTRICT COURT
 4                   NORTHERN DISTRICT OF ILLINOIS EASTERN DIVISION
 5

 6                                                  ) Case No.: 22 C 4832
     ALENA KRILEY,                                  )
 7                                                  )
                  Plaintiff,                        ) DEFENDANT’S MEMORANDUM IN
 8                                                  ) SUPPORT OF JURY TRIAL
          vs.                                       )
 9                                                  )
     PAUL KRILEY,                                   )
10                                                  ) ASSIGNED JUDGE: Martha M. Pacold
                  Defendant.                        ) MAGISTRATE JUDGE: Jeffrey Cole
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12
                DEFENDANT’S MEMORANDUM IN SUPPORT OF JURY TRIAL
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          Pursuant to the Minute Entry of October 25, 2024, Defendant, Paul Kriley, by and
14
       through his attorneys, Stern Perkoski Mendez, LLC, files this Memorandum of in Support
15
       of Jury Trial:
16
          Plaintiff, Alena Kriley, has filed for a breach of contract claim in relation to an alleged
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       violation of the I-864 Affidavit of Support against Paul Kriley. “The Supreme Court has
18
       established a two-part test to determine whether a claim is one in which a jury trial is
19
       afforded. First, the court must determine whether the action would historically have been
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       brought in a court of law or a court of equity.” Granfinanciera, S.A. v. Nordberg, 492 U.S.
21
       33, 42, 109 S.Ct. 2782, 106 L.Ed.2d 26 (1989). “Second, and more importantly, we must
22
       examine the remedy sought and determine whether it is legal or equitable in
23
       nature.” Id. “Historically, breach of contract claims are claims at law . . .”. Continental
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       Cas. Co. v. Commonwealth Edison Co., 286 Ill.App.3d 572, 579, 221 Ill.Dec. 807, 676
25
       N.E.2d 328 (1997). “. . . the nature of the remedy trumps historical labels . . .”. In re CDX
26
       Liquidating      Trust, 2005   WL    3953895,     2005     U.S.    Dist.    LEXIS     16704,
27
       quoting Granfinanciera, 492 U.S. at 42, 109 S.Ct. 2782.
28
 1       Case: 1:22-cv-04832 Document #: 72 Filed: 11/14/24 Page 2 of 2 PageID #:496
 2                  In this matter, Plaintiff is seeking monetary damages against Defendant for his
 3      alleged breach of contract. As this is a matter of law both historically and in the remedy
 4      sought, Defendant should be entitled to a trial by a jury of his peers.
 5

 6                  Regarding the date of this trial, Defendant is requesting this be set for trial
 7      sometime between September and November of 2025 due to scheduling and to ensure
 8      access to discovery in the pending dissolution of marriage proceedings, in Cook County,
 9      Illinois.
10
            WHEREFORE the Defendant asks this Court to set this matter for a jury trial.
11

12   Respectfully Submitted,
13   PAUL KRILEY
14   DATED: __November 14,___ 2024
15

16   _________/s/_______________
     Jason G. Shore, Esquire of STERN PERKOSKI MENDEZ
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     STERN PERKOSKI MENDEZ
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